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                                                    Civil Action No. 4:20-CV-467
                                                          U.S. District Court
                                                       Easter District of Texas
                                                          Sherman Division

                                                             Vaughn Index

This index contains a description of the records withheld in full or in part by the NSA. The disposition of the document(s) is noted
with a “PR” for Partial Release and a “DIF” for Denied in Full. The documents described below were located in response to the
Plaintiff’s October 29, 2018 request.

 Date of             Description                                           Disposition Exemption(s)                    Pages
 Document
 March 22, 2018      Letter from the Senate Select Committee on            PR            1 – classified information;   2 total: Letter –
                     Intelligence (“SSCI”) to Director of the National                   3 – P.L. 86-36                1 page; QFRs –
                     Security Agency (“DIRNSA”) with Questions for                       6 – privacy interest          1 page
                     the Record (“QFRs”) from Senator Cotton
 March 22, 2018      Letter from SSCI to DIRNSA with QFRs from             PR            6 – privacy interest          4 total: Letter –
                     Senators Rubio, Wyden, Cotton, and Harris                                                         1 page; QFRs –
                                                                                                                       3 pages
 Not dated           NSA’s responses to Senator Cotton’s QFRs              PR            1 – classified information    1 total
                                                                                         3 – P.L. 86-36
 Not dated           NSA’s responses to Senators Rubio, Wyden,             PR            1 – classified information;   4 total
                     Cotton, and Harris’s QFRs                                           3 – P.L. 86-36
 April 4, 2018       Letter from SSCI to DIRNSA                            PR            1 – classified information;   2 total
                                                                                         3 – P.L. 86-36
                                                                                         6 – privacy interest
 January 25, 2017    Correspondence with SSCI                              DIF           1 – classified information    2 total
                                                                                         3 – P.L. 86-36
                                                                                         3 – 18 U.S.C. § 798
                                                                                         3 – 50 U.S.C. § 3024(i)(1)
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January 25, 2017   Correspondence with Senate Committee on         DIF   1 – classified information   2 total
                   Appropriations, Subcommittee on Defense               3 – P.L. 86-36
                                                                         3 – 18 U.S.C. § 798
                                                                         3 – 50 U.S.C. § 3024(i)(1)
January 25, 2017   Correspondence with House Permanent Select      DIF   1 – classified information   2 total
                   Committee on Intelligence (“HPSCI”)                   3 – P.L. 86-36
                                                                         3 – 18 U.S.C. § 798
                                                                         3 – 50 U.S.C. § 3024(i)(1)
January 25, 2017   Correspondence with House Committee on          DIF   1 – classified information   2 total
                   Appropriations, Subcommittee on Defense               3 – P.L. 86-36
                                                                         3 – 18 U.S.C. § 798
                                                                         3 – 50 U.S.C. § 3024(i)(1)
March 2, 2017      Correspondence with SSCI; Senate Committee on   DIF   1 – classified information   4 total: 1 page
                   Appropriations, Subcommittee on Defense;              3 – P.L. 86-36               per
                   HPSCI; House Committee on Appropriations,             3 – 18 U.S.C. § 798          correspondence
                   Subcommittee on Defense                               3 – 50 U.S.C. § 3024(i)(1)
June 16, 2017      Correspondence with SSCI; Senate Committee on   DIF   1 – classified information   4 total: 1 page
                   Appropriations, Subcommittee on Defense;              3 – P.L. 86-36               per
                   HPSCI; House Committee on Appropriations,             3 – 18 U.S.C. § 798          correspondence
                   Subcommittee on Defense                               3 – 50 U.S.C. § 3024(i)(1)
